Case 1:19-cv-21391-KMW

 

KING GAME, INC D/B/A DR

For:

Peter Bober

BOBER & BOBER, P.A.
1930 Tyler Street
Hollywood, FL 33328

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RETURN OF SERVICE
State of Florida County of
Case Number: 1:19-CV-21391-KMW
Plaintiff:
KENDRA MOORE
vs.
Defendant:

BILLARDS, AND MARC O. FITZ-RITSON

Received by Pineiro Process Servers & Court Couriers on the 13th day of April, 2019 at 9:53 pm to be
served on MARC O. FITZ- RITSON, 5131 SW 159 STREET UNIT E, MIAIMI, FL 33015.

i, Susan Pineiro, do hereby

 

affirm that on the 18th day of April, 2019 at 11:56 am, |:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS IN A CIVIL
ACTION,COMPLAINT EXHIBITS with the date and hour of service endorsed thereon by me, to: MARC
O. FITZ- RITSON at the address of: §131 SW 159 STREET UNIT E, MIAIMI, FL 33015, and informed
said person of the contents therein, in compliance with state statutes.

Additional Information pertaining to this Service:
THE ADDRESS LOOKED TO BE VACANT SO! TRIED 16600 N.W. 54 AVE #9 WHICH WAS

CLOSED, SO! LOCATED A
TO MEET ME. HE MET ME

| certify that | am over the ag
Server, in good standing, in
perjury, | declare that | have
F.S. 92.525(2). Notary not re

PHONE NUMBER AND MADE CONTACT WITH HIM AND HE AGREED
INTHE STREET ON 159 STREET AND 51 AVE.

e of 18, have no interest in the above action, and am a Certified Process

the judicial circuit in which the process was served.Under penalties of

read the forgoing instrument and the facts-stated in it are true. Pursuant to
quired.

 

Susan Pineiro
CPS#1908

Pineiro Process Servers & Court Couriers
7036 S.W. 23 Street :
Davie, FL 33317

(954) 560-1052

Our Job Serial Number: SDP-2019001733

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